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   14                        UNITED STATES DISTRICT COURT

   15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   16
        PFIZER INC.,                            Civil Action No. 3:21-cv-1980-CAB-JLB
                                                                 ___________________
   17
                               Plaintiff, DECLARATION OF THOMAS
   18                                     SMITH IN SUPPORT OF
              - against -                 PLAINTIFF’S MOTION FOR A
   19                                     TEMPORARY RESTRAINING
      CHUN XIAO LI and DOES 1-5,
   20
                                          ORDER AND PRELIMINARY
                            Defendants. INJUNCTION
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                                               DECL. OF T. SMITH ISO TRO & PRELIM. INJ.
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   1    I, Thomas Smith, pursuant to 28 U.S.C. § 1746, declare as follows:
   2          1.     I am over the age of eighteen and make this Declaration In Support of
   3    Plaintiff’s Motion for a Temporary Restraining Order and Preliminary Injunction
   4    dated November 23, 2021, based on personal knowledge and experience. If called
   5    as a witness, I could and would testify to such facts under oath.
   6          2.     I am currently a Senior Manager of Employee Relations at Pfizer Inc.
   7    (“Pfizer”). I have worked in this role since December 2019. I began working at
   8    Pfizer in 1999 as a Supervisor of Investigations. In my current role, I am
   9    responsible for working with the Legal team to investigate Pfizer policy violations
   10   as well as violations of federal or state statutes by Pfizer employees, including the
   11   defendant Chun Xiao Li.
   12         3.     My training in the human relations field includes a Bachelor of
   13   Science in Law Enforcement Science as well as a Master of Science in Labor
   14   Relations from the University of New Haven as well as a Master of Arts in
   15   Leadership from Albertus Magnus College. In my role as Senior Manager of
   16   Employee Relations, I have conducted more than one hundred investigations into
   17   policy violations by Pfizer personnel.
   18                               Ms. Li’s Employment History
   19         4.     On August 2, 2006, Pfizer hired Ms. Li as Associate Director of
   20   Statistics in Pfizer’s Global Product Development group based in China. On or
   21   around August 22, 2016, Ms. Li transferred to Pfizer’s facility in La Jolla,
   22   California and continued her role as Associate Director of Statistics.
   23         5.     As part of her employment with Pfizer, Ms. Li entered into a
   24   Confidentiality, Non-Solicitation, and Assignment of Inventions Agreement
   25   (“Confidentiality Agreement”), which imposed a number of restrictions on Ms.
   26   Li’s activities during and after her employment. The Confidentiality Agreement,
   27   entered into by and between Pfizer and Ms. Li on August 22, 2016, expressly:
   28   (a) precludes Ms. Li from “disclos[ing] or us[ing] any” Confidential Information

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   1    without Pfizer’s written permission, other than in the course of her employment
   2    with Pfizer (Agreement ¶ 1); and (b) requires that Ms. Li, “prior to accepting any
   3    new employment,” inform the new employer “of the existence of this Agreement
   4    and provide a copy to such new employer to ensure that the new employer is aware
   5    of [her] post-employment obligations” (Agreement ¶ 9). All Pfizer employees are
   6    required to execute a version of the Confidentiality Agreement.
   7          6.     Pfizer also conducts periodic trainings designed to ensure that
   8    employees are aware of the policies and expectations around data security. These
   9    trainings include an overview of the “Blue Book,” Pfizer’s code of conduct, and
   10   additional training on the company’s acceptable use and handling sensitive
   11   information policies on how to protect and appropriately share Pfizer information.
   12   Based on my review of pertinent records, Ms. Li attended each of these trainings
   13   during her time at Pfizer.
   14         7.     In particular, Ms. Li completed the “Collaborate Securely:
   15   Safeguarding Sensitive Pfizer Information” training three times in the last five
   16   years: on April 17, 2020; on May 8, 2018; and on January 20, 2017. Part of the
   17   “Collaborate Securely” training is a review of Pfizer’s acceptable use policy. For
   18   example, Pfizer’s Systems Policy #403 prohibits “unauthorized . . . disclosure,
   19   transfer, use or unapproved release of Pfizer Information,” the use of
   20   “unauthorized devices (e.g. personal/home computers and laptops, public
   21   computers, etc.) . . . to transmit, store or work on Pfizer Information,” and the
   22   “[u]nauthorized use of non-Pfizer cloud service accounts for the storage,
   23   computation or transfer of Pfizer information.”
   24         8.     Ms. Li also completed required trainings on the “Blue Book,” the
   25   Pfizer employee code of conduct, on February 16, 2021, February 13, 2019, April
   26   18, 2017, and November 23, 2016. This training included reminders about Pfizer’s
   27   corporate policies regarding safeguarding sensitive information.
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   1                            Investigation into Ms. Li’s Activity
   2          9.     On October 29, 2021, I was informed that between October 23, 2021
   3    and October 27, 2021, Ms. Li uploaded a large number of files from her Pfizer
   4    laptop to a personal Google Drive account. On Friday, October 29, my colleague
   5    Brian Donnelly and I had a telephone call with Ms. Li to discuss the significant
   6    volume of her Google Drive uploads. This call lasted for approximately 20
   7    minutes. Upon being confronted with her Google Drive uploads, Ms. Li admitted
   8    that she was not careful in moving specific documents over, but instead uploaded
   9    entire folders on her computer’s desktop to Google Drive. She further explained
   10   that she wanted to rearrange and organize her Pfizer documents and that she
   11   uploaded these documents for her own personal reference. Ms. Li also stated that
   12   she “should have had the legal sense to know what was right or wrong.” I
   13   explained that the normal process would be to do a supervised deletion of the
   14   documents, and I advised that she should be getting a call from personnel in
   15   Pfizer’s Digital Forensics & Insider Threat Unit to conduct that process.
   16         10.    On Monday, November 1, my colleagues Charles Graybow, Tyler
   17   Hunter, and I conducted a video conference with Ms. Li to discuss her Google
   18   Drive uploads. This interview lasted for approximately one hour. Among other
   19   things, Ms. Li explained that she “probably” has plans to go to another company
   20   and that she had been seeking a promotion for several years. However, she did not
   21   want to discuss whether she had an offer from another company. As part of this
   22   interview, Ms. Li returned her Pfizer laptop, and provided her personal laptop and
   23   external hard drive for imaging. Pending completion of Pfizer’s forensic analyses
   24   of these devices, I placed Ms. Li on paid administrative leave.
   25         11.    Ms. Li notified Pfizer on November 12, 2021, that she was leaving
   26   Pfizer and that her last day at the company would be November 24, 2021. She
   27   refused to disclose the reason for her departure, including if she had a new
   28   employer.

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